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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
Vv. Criminal No. 21-0382 (PLF)
CHRISTOPHER WARNAGIRIS,
Defendant.
)
ORDER

Oral argument on the pending motions in limine is scheduled for October 16,
2023, at 10:00 a.m. via Zoom video-teleconference. See Scheduling Order [Dkt. No. 59]. In
advance of oral argument, the parties are directed to consult this Court’s opinion in United States
v. Baez, which addresses many of the issues presented in the government’s motions in limine in

this case. See United States v. Baez, Crim. No. 21-0507, 2023 WL 6364648 (D.D.C. Sept. 29,

2023).

The parties shall also be prepared to discuss at oral argument Mr. Warnagiris’s
Motion for Exculpatory Evidence [Dkt. No. 62], including the following cases that address the

government’s “duty to search” for exculpatory evidence under Brady v. Maryland: (1) Inre

Sealed Case No. 99-3096 (Brady Obligations), 185 F.3d 887 (D.C. Cir. 1999); (2) United States

v. Brooks, 966 F.2d 1500 (D.C. Cir. 1992); (3) United States v. Hsia, 24 F. Supp. 2d 14

(D.D.C. 1998); (4) United States v. Saffarinia, 424 F. Supp. 3d 46 (D.D.C. 2020); and (5) United

States v. Naegele, 468 F. Supp. 2d 150 (D.D.C. 2007).

The parties shall also be prepared to discuss at oral argument Mr. Warnagiris’s

Motion for a Bill of Particulars [Dkt. No. 63], including the following cases: (1) United States v.

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Sutton, Crim. No. 21-0598, 2022 WL 1183797 (D.D.C. Apr. 21, 2022); (2) United States v.

Mostofsky, Crim. No. 21-0138, 2021 WL 3168501 (D.D.C. July 27, 2021); (3) United States v.

Brock, 628 F. Supp. 3d 85 (D.D.C. 2022); (4) United States v. Nordean, Crim. No. 21-0175,

2022 WL 17583799 (D.D.C. Dec. 11, 2022); and (5) United States v. Ballenger, Crim.

No. 21-0719, 2022 WL 14807767 (D.D.C. July 27, 2021).

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PAUL L. FRIEDMAN
United States District Judge

SO ORDERED.

DATE: /of ra[as
